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                                                                     USDC SDNY
UNITED STATES DISTRICT COURT                                         DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                        ELECTRONICALLY FILED
HIMELDA MENDEZ, for herself and on behalf of all                     DOC #: _________________
other persons similarly situated,                                    DATE FILED: _2/28/2020___

                                Plaintiff,

               -against-
                                                                            19 Civ. 11540 (AT)
LESLEY HELLER FINE ARTS LLC,
                                                                        ORDER OF DISMISSAL
                          Defendant.
ANALISA TORRES, District Judge:

        The Court having been advised that all claims asserted herein have been settled in
principle, it is ORDERED that the above-entitled action be and is hereby dismissed and
discontinued without costs, and without prejudice to the right to reopen the action within thirty
days of the date of this Order if the settlement is not consummated.

        Any application to reopen must be filed within thirty days of this Order; any application
to reopen filed thereafter may be denied solely on that basis. Further, if the parties wish for the
Court to retain jurisdiction for the purposes of enforcing any settlement agreement, they must
submit the settlement agreement to the Court within the same thirty-day period to be so-ordered
by the Court. Per Rule IV(C) of the Court’s Individual Practices in Civil Cases, the Court will
not retain jurisdiction to enforce a settlement agreement unless it is made part of the public
record.

        Any pending motions are moot. All conferences are vacated. The Clerk of Court is
directed to close the case.

       SO ORDERED.

Dated: February 28, 2020
       New York, New York
